          Case 2:20-cv-10726 Document 1 Filed 11/24/20 Page 1 of 6 Page ID #:1




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10
                                 UNITED STATES DISTRICT COURT

11                            CENTRAL DISTRICT OF CALIFORNIA
12
13   TAMARA TURNER,                                     Case No.:

14                      Plaintiff,
                                                        COMPLAINT AND DEMAND FOR
15            vs.                                       JURY TRIAL
16
17   BANK OF AMERICA, NATIONAL
     ASSOCIATION,
18
                        Defendant(s).
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20
                                               INTRODUCTION
21
              1.        TAMARA TURNER (Plaintiff), through her attorneys, brings this
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     action        to   secure       redress   from   BANK   OF     AMERICA,     NATIONAL
23
     ASSOCIATION (Defendant) for violations of the Electronic Fund Transfer Act,
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     15 U.S.C. 1693 et seq. (“EFTA”).
25
              2.        Plaintiff brings this Complaint for damages, injunctive relief, and any
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     other available legal or equitable remedies, resulting from the illegal actions of
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     Defendant in failing to perform a reasonably diligent investigation into Plaintiff’s
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     disputes concerning her personal banking account with Defendant as it pertained
                                                       -1-

                                                                        COMPLAINT FOR DAMAGES
          Case 2:20-cv-10726 Document 1 Filed 11/24/20 Page 2 of 6 Page ID #:2




 1   to a failure of Defendant in crediting or refunding a certain sum of money into
 2   Plaintiff’s account, despite said funds being withdrawn via fraudulent activity, by
 3   a person unknown to Plaintiff, and at a Bank of America financial center. Plaintiff
 4   alleges as follows upon personal knowledge as to herself and her own acts and
 5   experiences, and, as to all other matters, upon information and belief, including
 6   investigation conducted by her attorneys.
 7                             JURISDICTION AND VENUE
 8          3.     This Court has jurisdiction under 28 U.S.C. 1331, because this action
 9   is brought pursuant to the EFTA, 15 U.S.C. 1693 et seq.
10          4.     Jurisdiction of this Court arises pursuant to 15 U.S.C. 1693(m), which
11   states that, “without regard to the amount in controversy, any action under this
12   section may be brought in any United States district court.”
13          5.     Venue and personal jurisdiction in this District are proper pursuant to
14   28 U.S.C. 1391(b) because Defendant, a corporation, maintains a business offices
15   throughout California and does or transacts business within this District and
16   Plaintiff resides within this district.
17          6.     Plaintiff is a natural person residing in Los Angeles County, State of
18   California.
19          7.     Defendant is a corporation with its State of Incorporation being North
20   Carolina.
21                               FACTUAL ALLEGATIONS
22          8.     On or about October 20, 2020, Plaintiff left her home to purchase
23   lunch for herself and her family at two (2) different restaurants.
24          9.     Upon her visit to the second restaurant, Plaintiff was notified that her
25   banking account/debit card was only approving a transaction of approximately
26   $9.00, as that was all funds remaining in her account at the moment.
27          10.    Upon return to her home, Plaintiff checked her account online.
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                                                 -2-

                                                                    COMPLAINT FOR DAMAGES
          Case 2:20-cv-10726 Document 1 Filed 11/24/20 Page 3 of 6 Page ID #:3




 1         11.    To Plaintiff’s shock and dismay, some unknown individual had made
 2   an in-person ATM withdraw, at an official Bank of American Financial Center, in
 3   the amount of $500.00. Plaintiff did not make this withdraw herself, did not
 4   authorize anyone to make the withdraw on her behalf, and was still in possession
 5   of her banking/debit card despite said withdraw taking place that day.
 6         12.    When Plaintiff noticed this mistake, she informed Defendant. The
 7   same day, October 20, 2020, Plaintiff made a phone call to Defendant and
 8   immediately advised of the fraudulent withdrawal. Defendant advised Plaintiff that
 9   the Fraud Department was closed and that Plaintiff would need to call back the
10   following day to submit her claim/dispute.
11         13.    On October 21, 2020, Plaintiff telephoned Defendant again and
12   submitted her claim for fraud regarding the ATM withdrawal at issue.
13         14.    On or about October 28, 2020, Defendant sent Plaintiff written
14   correspondence denying Plaintiff’s fraud claim.
15         15.    The basis for Defendant’s denial of Plaintiff’s claim is scant at best.
16   However, Defendant does indeed confirm that fraudulent or suspicious activity
17   took place in regard to the fraudulent withdrawal, but nonetheless refused to refund
18   or credit Plaintiff the $500 sum.
19         16.    Despite Plaintiff’s efforts, Defendant refused to perform any
20   reasonable investigation regarding Plaintiff’s dispute.
21         17.    Defendant’s alleged “investigation” into Plaintiff’s dispute was
22   clearly inadequate, not reasonable, not diligent, and failed to properly address
23   Plaintiff’s issues regarding the $500.00 fraudulent withdrawal.
24         18.    Further evidencing Defendant’s woefully inadequate investigation is
25   the fact that Defendant has access to data, film, and other resources given that the
26   fraudulent transaction took place at one of Defendant’s own financial centers (i.e.,
27   not a third party ATM at convenience store, for example). Defendant could have
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                                               -3-

                                                                  COMPLAINT FOR DAMAGES
          Case 2:20-cv-10726 Document 1 Filed 11/24/20 Page 4 of 6 Page ID #:4




 1   reasonably, easily and swiftly confirmed the $500.00 transaction as fraudulent and
 2   refunded or credited the funds over to Plaintiff’s bank account.
 3         19.    Instead, Defendant failed to investigate properly, refused to credit or
 4   refund the transaction, while still nonetheless confirming that the withdrawal was
 5   subject to fraudulent activity.
 6         20.    What is more, not only is Plaintiff still without the benefit of her
 7   $500.00 refund, but Defendant’s actions and refusal to credit has resulted in
 8   Plaintiff being unable to pay household bills and expenses and other additional
 9   expenditures all of which are a direct result of Defendant’s failure to properly
10   handle and resolve her dispute.
11                                        COUNT I:
12      DEFENDANT VIOLATED THE ELECTRONIC FUNDS TRANSFER
13                                           ACT
14         21.    15 U.S.C. §1693f(a)(3), provides that if a consumer notifies a financial
15   institution of an “error” related to an electronic fund transfer within sixty (60) days
16   of said error, “the financial institution shall investigate the alleged error, determine
17   whether an error has occurred, and report or mail the results of such investigation
18   and determination to the consumer within ten business days.”
19         22.    Pursuant to 15 U.S.C. §1693f(f)(2), an “error” as described above
20   includes an incorrect electronic fund transfer from or to the consumer’s account.
21         23.    Pursuant to 15 U.S.C. §1693(e), a financial institution is not only
22   liable under §1693m, but is subject to treble damages, should the Court find that:
23   (1) the financial institution did not provisionally recredit a consumer’s account
24   within the ten-day period specified in subsection (c), and the financial institution
25   (A) did not make a good faith investigation of the alleged error, or (B) did not have
26   a reasonable basis for believing that the consumer’s account was not in error; or (2)
27   the financial institution knowingly and willfully concluded that the consumer’s
28   account was not in error when such conclusion could not reasonably have been

                                                 -4-

                                                                     COMPLAINT FOR DAMAGES
          Case 2:20-cv-10726 Document 1 Filed 11/24/20 Page 5 of 6 Page ID #:5




 1   drawn from the evidence available to the financial institution at the time of its
 2   investigation.
 3          24.    Based upon the foregoing, Defendant failed to make a good faith
 4   investigation into the error regarding Plaintiff’s account, did not have a reasonable
 5   basis for believing that Plaintiff’s account was not in error and/or knowingly and
 6   willfully concluded that Plaintiff’s account was not in error when such a conclusion
 7   could not reasonable have been drawn from the evidence available to the financial
 8   institution at the time of its investigation.
 9                                 PRAYER FOR RELIEF
10          WHEREFORE, Plaintiff, TAMARA TURNER respectfully requests
11   judgment be entered against Defendant, BANK OF AMERICA, NATIONAL
12   ASSOCIATION, for the following:
13          25.    Statutory damages of $1,000.00 per 15 U.S.C. §1693m;
14          26.    Actual damages per 15 U.S.C. § 1693m;
15          27.    Costs and reasonable attorneys’ fees per 15 U.S.C. § 1693m;
16          28.    Treble Damages;
17          29.    For prejudgment interest at the legal rate; and
18          30.    Any other relief this Honorable Court deems appropriate.
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                                                                     COMPLAINT FOR DAMAGES
          Case 2:20-cv-10726 Document 1 Filed 11/24/20 Page 6 of 6 Page ID #:6




 1                                    TRIAL BY JURY
 2         Pursuant to the seventh amendment to the Constitution of the United States
 3   of America, Plaintiff is entitled to, and demands, a trial by jury
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 5
 6                                           RESPECTFULLY SUBMITTED,
 7   Dated: November 24, 2020                MARTIN & BONTRAGER, APC
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 9                                           By: /s/ Nicholas J. Bontrager
10                                                    Nicholas J. Bontrager
11                                                    Attorney for Plaintiff
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                                                                     COMPLAINT FOR DAMAGES
